                                     Supplemental Complaint

                                          Exhibit Index

                                    Bates Stamped Documents

         Documents appear in this order, with Bates-Numbered Slip-Sheets Between them. The
              documents are cited by Bates Number in the Supplemental Complaint.

Document Order Bates Range                    Document Title / Identifier



   11.         DOE00006016-6022               Borrower Defense Unit Claims Review Protocol

   12.         DOE00006206-DOE00006508        Training Binder – Borrower
                                              Defense To Repayment

   13.         DOE00006893-DOE0006895         Bd Work Plan For November 2019

   14.         DOE00006974                    FSA FY 2020 A-123A Assessment

   15.         DOE00007209-DOE00007214        Detailed Briefing: Borrower Defense and 2016
                                              Rule – Corinthian Colleges and ITT Technical
                                              Institute

   16.         DOE00007269-DOE00007271        Talking Points – Institutional Accountability
                                              Regulations

   17.         DOE00007289-DOE00007291        Talking points – Borrower Defense to Repayment

   18.         DOE00007866-DOE00007879        CCI guaranteed employment memo

   19.         DOE00008693-DOE00008694        Borrower Defense Claim Review Productivity
                                              Requirements, Incentives and Support Plan

   20.         DOE00008841-DOE00008843        Borrower Defense Quality Control Procedures
DOE00006016-DOE00006022
DOE00006016
DOE00006017
DOE00006018
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"C – Adjudication" Tab Excerpt from
Spreadsheet Bates No. DOE00006974
                        Borrower Defense to Repayment
                             Adjudication Process




                                                        This document is "C – Adjudication" Tab Excerpt from Spreadsheet
                                                        Bates No. DOE00006974, produced in Native (PDF Converted Page 1 of
                                                        2. This notation in red font was added by Plaintiffs for attachment to
                                                        Supplemental Complaint; not on original.


For Internal Use Only                                                                                                   1
                                                                      Borrower Defense to Repayment
                                                                           Adjudication Process
A senior attorney determines what
evidnce is relevant and works with a
team to review the evidence.              attorney logs into CEMS and pulls up assigned cases

                                          attorney checks file in CEMS to idenitfy correct review protocol

If there is no evidence relevant to a
school or categories of borrowers
relating to a school, the cases are
reviewed under the standard protocol.     attorney reviews case in accordance with protocol

If there is evidence, the senior
attorney(s) work with the team to
develop an appropriate protocol. For
schools or categories with over X
cases or where there are potential
approvals supported by the evidence,
the protocol is reviewed by the
Director. If not, it can be approved by
a senior attorney. The senior attorney last step in completed review is to move case into 2.21 (ready
will consult with the Director on any   for QC) unless reviewer is still in training, in which case the last
novel or challenging issues.            step is to move the case into 2.22 (QC in progress)
                                        all cases in 2.22 are QC'd and then moved into 2.23 (evidence
                                        clearance)
For protocols that set parameters for   Each night, 2.12 cases are "rolled over." 20% are loaded into
potential approvals, they must be       2.22 for QC, and the remainder go into 2.23 (evidence
approved by the Director.               clearance).
                                        after 2.23, if the case is approved, it is moved into 2.31
                                        (awaiting relief determination) for application of the Sec's relief
                                        methodology or a hold status due to litigation, pending policy
                                        decisions, etc.

                                          A "final QC" check by a senior team member is performed
                                          before the case moves into 3.1 for processing. At this step, the
                                          adjudication decision is final.




                                          On reconsideration, the borrower can request reconsideration
                                          of the decision (if the case was denied) or relief (if the case
                                          was approved). The platform updates needed to address
                                          reconsideration requests have not yet been completed.                This document is "C – Adjudication" Tab Excerpt from Spreadsheet
                                          Appropriate protocols will be developed once the platform is         Bates No. DOE00006974, produced in Native (PDF Converted Page 2 of
                                          updates and pending policy issues are addressed.                     2. This notation in red font was added by Plaintiffs for attachment to
                                                                                                               Supplemental Complaint; not on original.


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